                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:11-cr-1
 v.                                                    )
                                                       )       COLLIER / LEE
 JAMES DARRELL WARD                                    )

                                             ORDER


        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the two-count Second

 Superseding Indictment (2) accept Defendant’s plea of guilty to Count One of the Second

 Superseding Indictment; (3) adjudicate Defendant guilty of the charges set forth in Count One of

 the Second Superseding Indictment; (4) defer a decision on whether to accept the plea agreement

 until sentencing; and (5) Defendant has been released on bond under appropriate conditions of

 release pending sentencing in this matter (Court File No. 106). Neither party filed a timely objection

 to the report and recommendation. After reviewing the record, the Court agrees with the magistrate

 judge’s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge’s report and recommendation (Court File No. 106) pursuant to 28 U.S.C. §

 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Second

                Superseding Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Count One of the Second Superseding Indictment is

                ACCEPTED;

        (3)     Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the



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             Second Superseding Indictment;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter, which is scheduled to take place on Thursday,

             September 22, 2011 at 9:00 a.m. [EASTERN] before the Honorable Curtis L.

             Collier.

       SO ORDERED.

       ENTER:


                                          /s/
                                          CURTIS L. COLLIER
                                          CHIEF UNITED STATES DISTRICT JUDGE




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